               Case 13-11482-KJC         Doc 5091       Filed 10/18/18      Page 1 of 8



                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

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                                        :
    In re:                              : Chapter 11
                                        :
    EXIDE TECHNOLOGIES,                 : Case No. 13-11482 (KJC)
                                        :
                   Reorganized Debtor.1 :
                                        : Related Docket Nos. 3553, 3607, 3617, 3618, 3739, 4252
    -------------------------------- x

          REORGANIZED DEBTOR’S OMNIBUS REPLY IN SUPPORT OF THE
         REORGANIZED DEBTOR’S OBJECTIONS TO CERTAIN INSUFFICIENT
           DOCUMENTATION, NO LIABILITY, PREVIOUSLY DISCHARGED
               AND MISCLASSIFIED FORMER EMPLOYEE CLAIMS

         The reorganized debtor in the above-captioned case (“Exide” or the “Reorganized

Debtor”), files this reply in support of the Reorganized Debtor’s objections to certain insufficient

documentation, no liability, previously discharged and misclassified former employee claims

(the “Disputed Claims”), and states as follows:

                                         INTRODUCTION

         1.     The Reorganized Debtor filed several omnibus objections (the “Objections”)

seeking to disallow Disputed Claims2 filed by former employees that (i) contained insufficient

documentation to ascertain the validity of their Disputed Claims, (ii) were No Liability Claims,

(iii) were Previously Discharged Claims, or (iv) were Misclassified Claims. In turn, the

Reorganized Debtor received responses from five Claimants: (i) Rachel Clay (Claim No. 1774)

(the “Clay Claim”) [Informal Response]; (ii) Jerry Coleman (Claim No. 1026) (the “Coleman


1
 The last four digits of the Reorganized Debtor’s taxpayer identification number are 2730. The
Reorganized Debtor’s corporate headquarters are located at 13000 Deerfield Parkway, Building 200,
Milton, Georgia 30004.
2
 Capitalized terms not defined herein shall have the meaning ascribed to them in the Reorganized
Debtor’s Fifteenth and Nineteenth Omnibus Objections [Docket No. 3553; 3739].


DOCS_DE:221574.1 25016/001
              Case 13-11482-KJC          Doc 5091       Filed 10/18/18      Page 2 of 8



Claim”) [Docket No. 3607]; (iii) Michael Prude (Claim No. 2394) (the “Prude Claim”) [Docket

No. 3618]; (iv) Reynaldo Rodriguez (Claim No. 1527) (the “Rodriguez Claim”) [Docket No.

3617]; and (v) Don F. Smith, Jr. (Claim No. 1401) (the “Smith Claim”) [Docket No. 4252].3

After carefully analyzing the responses, the Reorganized Debtor has confirmed that each

Claimant asserts a Disputed Claim for alleged unpaid wages or severance. As discussed below,

the Disputed Claims should either be disallowed as a No Liability Claim, a Previously

Discharged Claim or reclassified as a non-priority general unsecured claim.

        2.      Accordingly, the Disputed Claims should be disallowed or reclassified pursuant to

section 502(b)(1) of the Bankruptcy Code.

                                            ARGUMENT

        3.      Sections 507(a)(4) and (5) of the Bankruptcy Code provide that certain claims for

prepetition wages, salaries, commissions, vacation, sick leave, and employee benefit related

contributions be accorded priority in payment in an amount not to exceed $12,4754 for each

individual employee to the extent such amounts accrued within 180 days of the Petition Date.

11 U.S.C. §§ 507(a)(4) and (5). In order to receive priority treatment, such claims must be

earned within “180 days of the date of the filing of the petition.” See, e.g., In re ADI

Liquidation, Inc., 560 B.R. 105, 109 (Bankr. D. Del. 2016) (severance entitled to priority

payment under § 507(a)(4) when earned within 180 days of the petition date); In re Powermate




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 The Reorganized Debtor objected to the Disputed Claims in the following Objections: (i) Clay Claim
and Smith Claim – Reorganized Debtor’s (Substantive) Nineteenth Omnibus Objection [Docket No.
3739]; and (ii) Coleman Claim, Prude Claim, and Rodriguez Claim – Reorganized Debtor’s (Non-
Substantive) Fifteenth Omnibus Objection [Docket No. 3553]. In the interests of judicial economy, the
Reorganized Debtor filed one reply rather than multiple replies containing substantially identical
arguments.
4
  On April 1, 2013, the priority amounts under sections §§ 507(a)(4) and (5) of the Bankruptcy Code were
increased from $11,750 to $12,475.

                                                   2
DOCS_DE:221574.1 25016/001
              Case 13-11482-KJC        Doc 5091     Filed 10/18/18     Page 3 of 8



Holding Corp., 394 B.R. 765, 772 (Bankr. D. Del. 2008) (priority status for wages and benefits

under §§ 507(a)(4) and (5) must be “‘earned’” within 180 days before the date of filing.”).

       4.      In further support of this Reply, the Reorganized Debtor incorporates by reference

the Declaration of Barry Whipple in Support of Reorganized Debtor’s Omnibus Reply in Support

of the Reorganized Debtor’s Objections to Certain Insufficient Documentation, No Liability,

Previously Discharged and Misclassified Former Employee Claims (the “Whipple Declaration”),

attached hereto as Exhibit 1.

       5.      The Clay Claim. By interim order granted on June 11, 2013 [Docket No. 65],

and Final Order granted on July 11, 2013 [Docket No. 319], this Court authorized the Debtor to

pay, among other things, prepetition compensation, business expense reimbursement, benefits

under medical and insurance benefit plans, and postpetition severance benefits for qualified

employees (the “Wage Orders”). Specifically, the Wage Orders authorized Exide to pay

prepetition severance obligations to former employees up to the amount of the $12,475 priority

cap under section 507(a)(4) of the Bankruptcy Code. [Docket No. 319 at ¶5.]

       6.      On or about October 23, 2013, Rachel Clay (“Clay”) filed the Clay Claim

asserting an unsecured priority claim pursuant to section 507(a)(4) of the Bankruptcy Code for

severance pay in the amount of $51,411.77. Based Exide’s books and records, Clay’s total

severance claim was $86,065.20. Of that amount, Clay received (i) $662.04 and $7,172.13 on

April 30, 2013, (ii) $7,172.13 on May 15, 2013, (iii) $7,172.13 on May 31, 2013, and

(iv) $12,475.00 on July 18, 2013. Whipple Declaration ¶ 5. The payment made on July 18,

2013 reflects payment for the priority portion of Clay’s severance claim pursuant to section

507(a)(4) of the Bankruptcy Code, which was authorized pursuant to the Wage Orders. Id.




                                                3
DOCS_DE:221574.1 25016/001
              Case 13-11482-KJC        Doc 5091     Filed 10/18/18     Page 4 of 8



       7.      In her proof of claim, Clay acknowledges that she received the $12,745 payment

made by Exide pursuant to the Wage Orders and asserts that the remaining balance of her

severance claim, $51,411.77, remains outstanding as a priority claim pursuant to section

507(a)(4) of the Bankruptcy Code. See Clay Claim (“As you know, I have been paid

$34,653.43, including the one time court issued payment of $12,475 in July. I am still owed

$51,411.77 per the plan below.”). Pursuant to the foregoing, Exide satisfied Clay’s priority

claim under section 507(a)(4) of the Bankruptcy Code in full and the Clay Claim should be

reclassified and allowed as a general unsecured non-priority claim in the amount of $51,411.77.

Whipple Declaration ¶ 6.

       8.      The Coleman Claim. On or about October 8, 2013, Jerry Coleman (“Coleman”)

filed the Coleman Claim asserting an unsecured priority claim pursuant to section 507(a)(4) of

the Bankruptcy Code for employee wages and other compensation in the amount of $3,150. The

Coleman Claim contains no documentation or other information establishing the basis for his

asserted Claim. See Coleman Claim. In his response to the Objection, Coleman asserted that he

worked for Exide for thirty years but did not receive any severance pay or other compensation.

[See Docket No. 3607.] Coleman does not identify a basis for his entitlement to severance or

identify when such claim accrued.

       9.      Coleman’s last date of employment at Exide was on or about March 31, 2009.

Whipple Declaration ¶ 7-8. After a thorough review of Exide’s records, Exide has determined

that Coleman has been paid in full for all wages owed on account of his employment with Exide

and there are no amounts due Coleman in connection with his former employment. Id. Further,

neither the Coleman Claim nor his response contains any information upon which Coleman




                                                4
DOCS_DE:221574.1 25016/001
              Case 13-11482-KJC        Doc 5091      Filed 10/18/18     Page 5 of 8



could state a valid basis for a claim against the Debtor – much less a priority claim under section

507(a)(4) of the Bankruptcy Code – since he last worked for Exide in 2009.

       10.     Pursuant to the foregoing, the Coleman Claim should be disallowed.

       11.     The Prude Claim. On or about October 30, 2013, Michael Prude (“Prude”) filed

the Prude Claim asserting an unsecured priority claim pursuant to section 507(a)(4) of the

Bankruptcy Code for employee wages and other compensation in the amount of $12,475. In his

response to the Objection, Prude does not identify a valid basis for his claim and acknowledges

that he was last employed by Gould National Battery (“GNB”) in 1989. [See Docket No. 3618.]

       12.     After a thorough review of Exide’s records, Exide has determined that it has no

liability to Prude on account of his former employment at GNB. Whipple Declaration ¶ 10-11.

Exide does not have GNB payroll records dating back to 1989 and Exide has not have any record

of employing Prude after it purchased GNB in 2000. Id. ¶ 11. Moreover, neither the Prude

Claim nor his response contains any information upon which Prude could state a valid basis for a

claim against the Debtor – much less a priority claim under section 507(a)(4) of the Bankruptcy

Code – since he last worked GNB almost 30 years ago.

       13.     Further, based on the information contained in the Prude Claim and his response,

any purported Claim was also previously released and discharged in the 2002 Chapter 11 Case.

See Nineteenth Omnibus Objection ¶ 19 and Bixler Declaration in support thereof;

       14.     Pursuant to the foregoing, the Prude Claim should be disallowed.

       15.     The Rodriguez Claim. On or about October 18, 2013, Reynaldo Rodriguez

(“Rodriguez”) filed the Rodriguez Claim asserting an unsecured priority claim pursuant to

section 507(a)(4) of the Bankruptcy Code for employee wages and other compensation in the

amount of $20,400. The Rodriguez Claim contains no documentation or other information



                                                 5
DOCS_DE:221574.1 25016/001
              Case 13-11482-KJC        Doc 5091     Filed 10/18/18     Page 6 of 8



establishing the basis for his asserted Claim. In his response to the Objection, Rodriguez claims

that he signed a severance agreement with the Debtor, but that neither he nor Exide have been

able to locate a copy of the purported agreement. [See Docket No. 3617.]

       16.     After a thorough review of Exide’s records, Exide has determined that it has no

liability to Rodriguez for severance payments related to his former employment with Exide.

Whipple Declaration ¶ 13. Based on Exide’s records, Rodriguez was employed by Exide until

his employment terminated on or about December 2, 2004. Id. Since Rodriquez’s employment

terminated in 2004, the Rodriguez Claim cannot receive priority treatment under section

507(a)(4) of the Bankruptcy Code. Moreover, Exide has no record of Rodriguez entering into a

severance agreement with Rodriguez in connection with the termination of his employment in

2004. Id. Nor does Rodriguez provide any other information which could support an allowed

general unsecured claim in the amount of $20,400. Whipple Declaration ¶ 13.

       17.     Pursuant to the foregoing, the Rodriguez Claim should be disallowed.

       18.     The Smith Claim. On or about October 15, 2013, Don F. Smith, Jr. (“Smith”)

filed the Smith Claim asserting an unsecured claim pursuant for “wages, salaries and

compensation (income protection plan)” in the amount of $6,292.77. In support of the Smith

Claim, Smith attached a copy of the proof of claim he filed in the 2002 Chapter 11 Case for

severance obligations incurred prior to the commencement of the 2002 bankruptcy petition. In

his response to the Objection, Smith included a copy of an income protection agreement dated as

of November 15, 2001. [See Docket No. 4252.]

       19.     After a thorough review of Exide’s records, Exide has determined that it has no

liability to Smith on account of Smith’s former employment with Exide. Whipple Declaration

¶15. Based on the information contained in the Smith Claim and his response, the Smith Claim



                                                6
DOCS_DE:221574.1 25016/001
              Case 13-11482-KJC          Doc 5091     Filed 10/18/18    Page 7 of 8



was previously satisfied, discharged and released in full by order of the Court in the 2002

Chapter 11 Case. See Nineteenth Omnibus Objection ¶ 19 and Bixler Declaration in support

thereof; Whipple Declaration ¶15. Further, the Smith Claim cannot be entitled to priority

treatment under section 507(a)(4) of the Bankruptcy Code since he last worked for Exide in

2001.

        20.    Pursuant to the foregoing, the Smith Claim should be disallowed.




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                                                  7
DOCS_DE:221574.1 25016/001
              Case 13-11482-KJC        Doc 5091      Filed 10/18/18    Page 8 of 8



       WHEREFORE, the Reorganized Debtor respectfully requests that this Court enter an

order (a) granting the relief requested in the Objections disallowing and expunging the Disputed

Claims; and (b) granting to the Reorganized Debtor such other and further relief as this Court

may deem just and proper.

Dated: October 18, 2018
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                                                 8
DOCS_DE:221574.1 25016/001
